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            EXHIBIT ONE
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AO 93 (Rev. 1/13) Search and Seizure Warrant (Page 2)

                                                                     Return
Case No.:                                Date and time warrant executed:           Copy of warrant and inventory left with:
18-MJ-2436-MBB                            July 27, 2018, 2:25 pm                   N/A
Inventory made in the presence of :
N/A
Inventory of the property taken and name of any person(s) seized:

- Two Microsoft .pst files, labeled as "rudy" (780.225 MB) and "moe" (25.89 GB).




                                                                   Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.


                                                                                                           Digitally signed by Brian D. Hendricks -S


Date:
              October 27, 2021                                        Brian D. Hendricks -S                DN: c=US, o=U.S. Government, ou=HHS, ou=FDA, ou=People,
                                                                                                           0.9.2342.19200300.100.1.1=2000360181, cn=Brian D. Hendricks -S
                                                                                                           Date: 2021.10.27 11:55:06 -04'00'

                                                                                            Executing officer’s signature
                                                                                         Brian Hendricks - Special Agent
                                                                                               Printed name and title




                                                                                                                   USA_KDRW_4322263
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